

Geronimo v Guzman (2023 NY Slip Op 02456)





Geronimo v Guzman


2023 NY Slip Op 02456


Decided on May 09, 2023


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: May 09, 2023

Before: Webber, J.P., Kern, Friedman, Mendez, Shulman, JJ. 


Index No. 24356/18E Appeal No. 223 Case No. 2022-02829 

[*1]Belkis Nunez Geronimo, Plaintiff-Appellant, Fedeluja Francisco, Plaintiff,
vFernando J. Guzman et al., Defendants-Respondents.


Mitchell Dranow, Seacliff, for appellant.
Law Offices of John Trop, Tarrytown (Talay Hafiz of counsel), for respondents.



Appeal from judgment, Supreme Court, Bronx County (Ben R. Barbato, J.), entered June 6, 2022, as limited by the briefs, dismissing the complaint of plaintiff Belkis Nunez Geronimo, unanimously dismissed, without costs.
Under CPLR 5501(a)(1), an appeal from a final judgment brings up for review "any non-final judgment or order which necessarily affects the final judgment." Plaintiff's appeal from the judgment does not bring up for review the prior order entered July 13, 2021 granting defendants' motion for summary judgment dismissing the complaint. The order, marked "case disposed in its entirety," was "final and disposed of all of the causes of action between the parties and left nothing for further judicial action apart from the ministerial entry of the judgment" (Rivera v Skanska USA Civil Northeast, Inc., 179 AD3d 455 [1st Dept 2020]; see also Burke v Crosson, 85 NY2d 10, 15-16 [1995]; Pollak v Moore, 85 AD3d 578, 578 [1st Dept 2011]). Plaintiff, who failed to timely appeal the order (see CLR 5513[a]), "cannot revive that appeal by the expedient of effecting a ministerial entry of judgment upon the final order" after the time to appeal had elapsed (Pollak, 85 AD3d at 578; see Rivera, 179 AD3d 455).THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: May 9, 2023








